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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                                             *
BRUCE FLEMING,
                                             *
       Plaintiff,
                                             *
       v.                                                   Civil Action No. RDB-15-3358
                                             *
RAY MABUS, Secretary,
U.S. Department of the Navy,                 *

       Defendant.                            *

*      *       *      *       *       *      *          *   *     *     *      *     *     *

                                  MEMORANDUM OPINION

       Defendant Ray Mabus, Secretary of the United States Department of the Navy

(“defendant” or “Secretary Mabus”) moves to dismiss plaintiff Bruce Fleming’s (“plaintiff”

or “Professor Fleming”) Complaint for (1) lack of subject matter jurisdiction and (2) failure

to state a claim upon which relief can be granted (“Defendant’s Motion”) (ECF No. 16).

Plaintiff has filed a Response in Opposition to Defendant’s Motion (“Plaintiff’s

Opposition”) (ECF No. 18), and defendant has filed a Reply (“Reply”) (ECF No. 24). The

parties’ submissions have been reviewed, and no hearing is necessary. See Local Rule 105.6

(D. Md. 2016). For the reasons stated below, Defendant’s Motion to Dismiss (ECF No. 16)

is GRANTED.



                                          BACKGROUND

       This Court accepts as true the facts alleged in the plaintiff’s Complaint. See Aziz v.

Alcolac, Inc., 658 F.3d 388, 390 (4th Cir. 2011).

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        Plaintiff is a tenured professor of English at the United States Naval Academy

(“USNA” or “Academy”) in Annapolis, Maryland. (ECF No. 1 at ¶ 2.) During plaintiff’s

August 30, 2013 class discussion, plaintiff prompted his students1 to consider the

implications of the USNA’s Sexual Assault Prevention and Response Program (“SAPR

Program” or “SAPR”). (Id. at ¶ 7.) Two female midshipmen took issue with Professor

Fleming’s comments about the SAPR program and subsequently filed a complaint with the

head of the Academy’s SAPR office. (Id. at ¶ 7, 13.) In their complaint, the two female

midshipmen alleged that they had been subjected to a “hostile work environment” on

account of Professor Fleming’s comments about the SAPR Program and discussion of the

poem, “Kong Looks Back on His Tryout With the Bears.”2

        The female midshipmen’s complaint was initially referred to the USNA’s Equal

Employment Office, which, after review, declined to take any action. (Id. at ¶ 14.) USNA

officials then prompted Professor Mark McWilliams, Chair of the English Department, to

undertake an investigation of Professor Fleming’s conduct. (Id. at ¶ 15, 16.) Professor

McWilliams initially expressed reservations about the investigation. (Id.) However, when

told that the military commanders would conduct their own inquiry should he refuse,

Professor McWilliams elected to have the English Department investigate. (Id. at ¶ 16.)

       The investigation was conducted in mid-September 2013 and found no evidence of

any misconduct by Professor Fleming.             (ECF No. 1 at ¶ 21.)          To the contrary, the

investigators concluded that Professor Fleming’s students held him in high regard and

1 Students at the Academy are midshipmen and are referred to herein as “students” and “midshipmen”
interchangeably.

2William Trowbridge, “Kong Looks Back on His Tryout with the Bears,” Put This On, Please (Red Hen Press,
2014).

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welcome his challenging pedagogical approach. (Id. at ¶ 23.) Seemingly vindicated by the

English Department investigation, Professor Fleming apparently did not allow this matter to

conclude. For reasons which remain unclear, he initiated an Academy internal conduct case

against the two female midshipmen who had complained about his class discussion. (Id. at ¶

33.) See also ECF No. 16-1 at 5.

        In January 2014, the USNA opened a Command Investigation3 into “the underlying

complaint of a hostile work environment in the creative writing class” and the Academy’s

subsequent handling of the students’ complaint. (ECF No. 1 at ¶ 27.) Professor Fleming

alleges that the purpose of the Command Investigation was “to silence [him] once and for all

by threatening him with the possibility that the military would impose harsh discipline on

him.” (Id. at ¶ 29.) As a result of the Command Investigation, Professor Fleming was issued

a Letter of Reprimand (“LOR”) in June 2014. (Id. at ¶ 30.) The LOR strongly criticized

Professor Fleming, concluding that, “You abused your position and influence in an attempt

to harm the reputation and potential future careers of the midshipmen. This is unacceptable

and will not be tolerated.” (Id. at ¶ 31) (footnote added). As a result of the LOR, Professor

Fleming alleges that he was denied a merit pay increase and $7,000 in summer funding he

would have received but for the LOR. (ECF No. 1 at ¶ 42.)4




3 A Command Investigation is provided for in the Manual of the Judge Advocate General, which “prescribes
regulations implementing or supplementing certain provisions of the [Uniform Code of Military Justice] and
the [Manual for Courts-Martial].” (ECF No. 1 at ¶ 28.)

4USNA faculty members are in leave without pay status during the summer months between academic years.
See ECF No. 16-1 at 9, n. 6. Many professors secure outside research funding for summer projects. Id. The
Naval Academy Research Counsel (“NARC”) also provides some support for faculty research on a
competitive basis. Id. Professor Fleming applied for funding through the NARC. Id.

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       On June 12, 2014, Professor Fleming filed a complaint with the Office of Special

Counsel under the Whistleblower Protection Act of 1989, claiming that USNA had retaliated

against him for engaging in protected activity in violation of 5 U.S.C. § 2302(b)(8). (ECF

No. 18 at 9.) After review, the OSC advised Professor Fleming of his right to file an

individual right of action (“IRA”) appeal to the Merit Systems Protection Board (“MSPB”)

pursuant to 5 U.S.C. § 1214 and § 1221. (Id.) Professor Fleming filed a timely appeal to the

MSPB, alleging that:

       “[USNA] committed harmful procedural error when it subjected him to a
       Command Investigation, and that the Agency’s actions in issuing him the
       LOR and denying him a merit pay increase were taken in retaliation for his
       protected disclosure in raising concerns about the SAPR Program.”

(Id. at 10.) An MSPB Administrative Judge dismissed Professor Fleming’s appeal for lack of

jurisdiction.   (Id.)   Professor Fleming then filed a petition for board review of the

Administrative Judge’s decision. (Id. at 12.) The Board modified the Administrative Judge’s

opinion, but also dismissed the complaint for lack of jurisdiction. (Id.) As plaintiff notes,

“At no point did Professor Fleming press his First Amendment claim before the MSPB or

the OSC.” (Id.)

       Plaintiff asks this Court to enter a declaratory judgment “that the actions of

Defendant in issuing Plaintiff a Letter of Reprimand and using the Letter of Reprimand to

deny him a merit pay increase and $7,000 in summer funding violated the First

Amendment.”       (ECF No. 1 at 17.)     Plaintiff also seeks a preliminary and permanent

injunction ordering the LOR removed from plaintiff’s personnel file and “preventing

Defendant from taking further adverse action against Plaintiff that is intended to prevent

him from speaking out on matters of public concern.” (Id.)

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                                  STANDARDS OF REVIEW

   I.      Rule 12(b)(1)

        A motion to dismiss under Rule 12(b)(1) of the Federal Rules of Civil Procedure for

lack of subject matter jurisdiction challenges a court’s authority to hear the matter brought

by a complaint. See Davis v. Thompson, 367 F. Supp. 2d 792, 799 (D. Md. 2005). This

challenge under Rule 12(b)(1) may proceed either as a facial challenge, asserting that the

allegations in the complaint are insufficient to establish subject matter jurisdiction, or a

factual challenge, asserting “that the jurisdictional allegations of the complaint [are] not

true.” Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (citation omitted). A plaintiff

carries the burden of establishing subject matter jurisdiction. Lovern v. Edwards, 190 F.3d

648, 654 (4th Cir. 1999). With respect to a facial challenge, a court will grant a motion to

dismiss for lack of subject matter jurisdiction “where a claim fails to allege facts upon which

the court may base jurisdiction.” Davis, 367 F. Supp. 2d at 799. Where the challenge is

factual, “the district court is entitled to decide disputed issues of fact with respect to subject

matter jurisdiction.” Kerns, 585 F.3d at 192. “[T]he court may look beyond the pleadings

and ‘the jurisdictional allegations of the complaint and view whatever evidence has been

submitted on the issue to determine whether in fact subject matter jurisdiction exists.’”

Khoury v. Meserve, 268 F. Supp. 2d 600, 606 (D. Md. 2003) (citation omitted). The court “may

regard the pleadings as mere evidence on the issue and may consider evidence outside the

pleadings without converting the proceeding to one for summary judgment.” Velasco v. Gov’t

of Indon., 370 F.3d 392, 398 (4th Cir. 2004); see also Sharafeldin v. Md. Dept. of Pub. Safety & Corr.

Servs., 94 F. Supp. 2d 680, 684-85 (D. Md. 2000).


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      II.      Rule 12(b)(6)

            Rule 12(b)(6) of the Federal Rules of Civil Procedure authorizes the dismissal of a

complaint if it fails to state a claim upon which relief can be granted. The purpose of Rule

12(b)(6) is “to test the sufficiency of a complaint and not to resolve contests surrounding the

facts, the merits of a claim, or the applicability of defenses.” Presley v. City of Charlottesville,

464 F.3d 480, 483 (4th Cir. 2006). The Supreme Court’s opinions in Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), “require that

complaints in civil actions be alleged with greater specificity than previously was required.”

Walters v. McMahen, 684 F.3d 435, 439 (4th Cir. 2012) (citation omitted).5



                                                  ANALYSIS

            Defendant argues that plaintiff’s “Complaint should be dismissed because this Court

lacks subject matter jurisdiction over his claims, which are entirely precluded under the Civil

Service Reform Act of 1978 (“CSRA”).”6 (ECF No. 16-1 at 3.) Defendant relies on the

Supreme Court’s decisions in United States v. Fausto, 484 U.S. 439, 108 S. Ct. 668, 98 L. Ed.

2d 830 (1988) and Elgin v. Dep’t of Treasury, 132 S. Ct. 2126, 183 L. Ed. 2d 1 (2012) for the

proposition that the CSRA is the “exclusive framework for review of federal employment

disputes and precludes alternative avenues of review,” including when those disputes involve

constitutional claims. (ECF No. 16-1 at 13-14.) Plaintiff, on the other hand, argues that

because the challenged employment actions (the LOR and denial of merit pay increase) are


5 The standard of review of motions to dismiss made pursuant to Rule 12(b)(6) is stated in an abbreviated
form, as this Court’s ruling is based on Rule 12(b)(1) only for the reasons stated infra.

6   The CSRA is codified in various sections of Title 5 of the United States Code.

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not expressly covered by the CSRA’s remedial scheme, plaintiff retains the right to seek relief

on his constitutional claims in this court pursuant to 28 U.S.C. § 1331. (ECF No. 18 at 16-

17.)

       The CSRA “comprehensively overhauled the civil service system,” creating a

“framework for evaluating adverse personnel actions against [federal employees].” Lindahl v.

Office of Personel Mgmt., 470 U.S. 768, 773–74, 105 S.Ct. 1620, 84 L.Ed.2d 674 (1985). “It

prescribes in great detail the protections and remedies applicable to such action, including

the availability of administrative and judicial review.” Fausto, 484 U.S. at 443. “A primary

purpose of enacting the CSRA was ‘to replace the haphazard arrangements for

administrative and judicial review of personnel action’ that existed prior to the CSRA. When

the CSRA was enacted, the perception was that the existing appeals process was so lengthy

and complicated that federal supervisors were discouraged from taking legitimate adverse

personnel actions. Further, because multiple jurisdictions had concurrent jurisdiction over

actions challenging personnel decisions, there was a wide variation in decisions regarding the

same or similar matters. Accordingly, the CSRA was designed to eliminate this problem as

well.” Hall v. Clinton, 235 F.3d 202, 204–05 (4th Cir. 2000) (quoting Fausto, 484 U.S. at 444-

45) (internal references omitted).

       Chapter 75 of the CSRA sets out the types of adverse personnel actions covered by

the Act. Subchapter I governs minor adverse action, defined as suspension for 14 days or

less. 5 U.S.C. § 7502. Subchapter II governs major adverse actions, defined as: (1) a

removal; (2) a suspension for more than 14 days; (3) a reduction in grade; (4) a reduction in

pay; and (5) a furlough of 30 days or less.” 5 U.S.C. § 7512. See Fausto, at 446–47. Neither


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subchapter provides a remedial scheme for letters of reprimand or other minor personnel

actions.

        While not cited in either party’s brief, an analogous case involving a federal

employee’s constitutional claims came before the United States Court of Appeals for the

District of Columbia Circuit. Graham v. Ashcroft, 358 F.3d 931 (D.C. Cir. 2004) (Roberts, J.).

In Graham, the FBI, subsequent to an internal investigation, issued plaintiff a letter of

censure with no loss of pay or benefits as a result of what the agency determined to be

plaintiff’s misconduct. Id. at 932. In his suit, plaintiff alleged that the agency had “denied

him procedural due process and violated his equal protection rights.” Id. at 932.7

        The case now before the Court, like Graham, “involves an employee granted certain

judicial review rights under the CSRA, but whose rights do not extend to the personnel

action at issue – a letter of censure.” Graham, 358 F.3d at 934. Plaintiff’s ability to pursue

his constitutional claims in this Court similarly depends on “whether in granting review with

respect to some personnel actions under the CSRA, Congress meant to preclude the review

of others.” Id.

        As set forth by then-Judge, now Chief Justice Roberts, “[t]he logic of Fausto, if not its

holding, provides the answer.” Graham, 358 F.3d at 934. Specifically:

        “The Court’s explicit assumption in Fausto that employees with judicial review
        rights under the CSRA may not obtain judicial review of personnel actions
        outside the bounds of the CSRA covered precisely the situation at issue here
        — a personnel action as to which the CSRA grants no right of review, even

7 It bears mention that, “Although FBI employees are generally excluded from CSRA provisions, see [5
U.S.C.] §§ 2302(a)(2)(C)(ii), 7511(b)(8), Subchapter II does apply to “preference eligible” FBI employees. §
7511(a)(1)(B). … Employees covered by Subchapter II are entitled to administrative review by the Merit
Systems Protection Board (MSPB), and subsequent judicial review in the Court of Appeals for the Federal
Circuit. [5 U.S.C.] §§ 7513(d), 7701, 7703.” Graham, 358 F.3d at 933. Accordingly, the viability of Graham’s
claims, like those of plaintiff in this case, was dependent upon the CSRA’s preclusive effect.

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        for employees who are otherwise granted such rights under the CSRA in other
        circumstances.”

Id. (citing Fausto, 484 U.S. at 449-50). Thus, “[g]ranting Graham a right of direct judicial

review for a letter of censure would give him greater rights than the CSRA affords for major

adverse actions, for what does not even rise to the level of a minor adverse action under the

CSRA.” Graham, 358 F.3d at 935. Because the adverse personnel actions alleged in this

case—the LOR and the denial of a merit pay increase—similarly fall below the CSRA

minima for major and minor adverse personnel actions, Professor Fleming “is in the same

boat as Fausto [and Graham] – the CSRA provides no relief and precludes other avenues of

relief.” Graham, 358 F.3d at 935.

        While Professor Fleming seeks to skirt the CSRA’s exclusive remedial scheme by

framing his claims as constitutional in nature, both Graham and, crucially, Elgin foreclose this

attempt. (ECF No. 18 at 13-16.) Graham, as set forth above, dealt with alleged due process

and equal protection violations within the scope of the plaintiff’s federal employment.

Graham, 358 F.3d at 932. In Elgin, petitioners were terminated from their executive agency

employment based on 5 U.S.C. § 3228, which bars from federal agency employment anyone

who has knowingly and willfully failed to register for the Military Selective Service.

Petitioners alleged that Section 3228 was an unconstitutional bill of attainder and

unconstitutionally discriminated against them on the basis of sex. Elgin, 132 S.Ct. at 2131.

As the constitutional claims in both cases arose within the employment relationship, both

courts held that the CSRA provided the exclusive avenue for relief.8


8While Elgin may be distinguishable from the instant case insofar as Elgin dealt with an employee’s removal—
an adverse personnel action covered by the CSRA—the Supreme Court nonetheless reiterated Fausto’s
emphasis on the exclusivity of the statutory scheme:

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        Accordingly, plaintiff’s claims are precluded by the CSRA and must be dismissed for

lack of subject matter jurisdiction.9



                                              CONCLUSION

        For the reasons stated above, Defendant Secretary Mabus’ Motion to Dismiss (ECF

No. 16) is GRANTED.

        A separate Order follows.



Dated: September 30, 2016                                             ___/s/____________________
                                                                      Richard D. Bennett
                                                                      United States District Judge




        “The purpose of the CSRA also supports our conclusion that the statutory review scheme is
        exclusive, even for employees who bring constitutional challenges to federal statutes. As we
        have previously explained, the CSRA’s integrated scheme of administrative and judicial
        review for aggrieved federal employees was designed to replace an outdated patchwork of
        statutes and rules’ that afforded employees the right to challenge employing agency actions
        in district courts across the country. Such widespread judicial review, which included
        appeals in all of the Federal Courts of Appeals produced ‘wide variations in the kinds of
        decisions ... issued on the same or similar matters’ and a double layer of judicial review that
        was ‘wasteful and irrational.’”

Elgin, 132 S. Ct. at 2135 (quoting Fausto, 484 U.S. at 444-45) (internal references omitted).

9As this Court is without subject matter jurisdiction over plaintiff’s claims, it need not address the second
basis for defendant’s motion.

                                                       10
